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 1                                    UNITED STATES DISTRICT COURT

 2                                          DISTRICT OF NEVADA

 3                                                      ***

 4

 5   UNITED STATES OF AMERICA,

 6                       Plaintiff,                        2:13-cr-00291-APG-CWH

 7   vs.                                                   ORDER

 8   JARED JAMAR JOHNSON,
                                                           [Defendant’s Unopposed Motion to Allow
 9                         Defendant.                      Defendant to Participate in a Boxing Match (#28)]
10

11           Before the Court is Defendant’s Unopposed Motion to Allow Defendant to Participate in a
12   Boxing Match. (#28).
13           Defendant requests the Court to allow him to participate in a boxing match on September 28,
14   2013 in Las Vegas, Nevada. Id. To date, no opposition has been filed.
15           Pursuant to LR 7-2 (d), “[t]he failure of an opposing party to file points and authorities in
16   response to any motions shall constitute a consent to the granting of the motion.”
17           Accordingly, and for good cause appearing,
18           IT IS HEREBY ORDERED that Defendant’s Unopposed Motion to Allow Defendant to
19   Participate in a Boxing Match (#28) is GRANTED.
20           DATED this 24th day of September, 2013.
21

22
                                                                 _________________________
23
                                                                 CAM FERENBACH
24
                                                                 UNITED STATES MAGISTRATE JUDGE

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